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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

VERNON ROSS and DEBRA JOSEY,                  )
                                              )
On behalf of themselves and all others        )
similarly situated,                           )              Civil No. _____________
                                              )
       Plaintiffs,                            )
                                              )
v.                                            )              CLASS ACTION
                                              )
LOCKHEED MARTIN CORP.,                        )
                                              )              JURY TRIAL DEMANDED
       Defendant.                             )

                PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL
                   OF CLASS ACTION SETTLEMENT AGREEMENT

       Plaintiffs, by and through their counsel and pursuant to Fed. R. Civ. P. 23(e), hereby

move the Court for preliminary approval of the proposed Settlement Agreement (attached hereto

as Exhibit 1), for preliminary certification of the Settlement Class, for approval of the proposed

Notice of Class Action Settlement and Claim Form, for approval of the proposed method of

notifying the Class, and for an order temporarily enjoining other actions involving claims

encompassed by this Action pending the outcome of the final fairness hearing regarding the

proposed settlement.

       Plaintiffs ask the Court to make the findings and rulings set forth in the proposed order

filed herewith. Plaintiffs also respectfully refer the Court to their memorandum of points and

authorities and declaration in support of preliminary approval of the proposed class action

settlement.

       Defendant does not oppose Plaintiffs’ Motion for Preliminary Approval of Class Action

Settlement Agreement or the findings and rulings set forth in the proposed order.
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       WHEREFORE, Plaintiffs pray that the Court grant their motion for preliminary approval

of the class action settlement.

Respectfully submitted this 23rd day of December, 2016,

/s/__________________________
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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                           )
VERNON ROSS and DEBRA JOSEY,               )
Individually and on behalf of a class of   )
similarly situated African American        )
employees,                                 )
                                           )   Civil No. ___________
                                           )   CLASS ACTION
       Plaintiffs,                         )
v.                                         )
                                           )
Lockheed Martin Corporation,               )
                                           )
       Defendant.                          )
                                           )




     PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN
     SUPPORT OF THE PARTIES’ JOINT MOTION FOR PRELIMINARY
         APPROVAL OF THE PROPOSED CLASS SETTLEMENT
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                                       EXHIBITS


The parties’ class action Settlement Agreement is attached as Exhibit A to Plaintiffs’
Motion for Preliminary Approval. The Exhibits to the Settlement Agreement, which are
referenced in this Memorandum, are as follows:


Exhibit 1:    Complaint

Exhibit 2:    Claim Form
Exhibit 3:    Named Plaintiff General Release

Exhibit 4:    Notice of Class Action

Exhibit 5:    Reminder Notice

In addition, the following exhibits also accompany Plaintiffs’ Motion for Preliminary
Approval:

Exhibit B:    Declaration of Cyrus Mehri, Counsel for the Plaintiffs

Exhibit C:    Class Member Release

Exhibit D:    Joint Proposed Order




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   I.        INTRODUCTION

          The parties have negotiated a class action settlement of racial discrimination claims

that otherwise undoubtedly would have plunged the parties into years of complex,

expensive litigation with uncertain results. This settlement fulfills the goals of the Federal

Rules of Civil Procedure – to secure a “just, speedy, and inexpensive determination” – and

should be preliminarily approved. The parties agreed to this Settlement after exchange of

relevant information and data and more than a year of significant negotiations.

          Plaintiffs allege that Lockheed Martin Corporation (“Lockheed” or “Defendant”)

engaged in systematic, nationwide discriminatory treatment of salaried African American

employees below the level of Vice President in violation of 42 U.S.C. § 1981 and Title VII

of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e, et seq (“Title VII”). Plaintiffs claim

that, from no later than January 1, 2013, Lockheed Martin has used a performance appraisal

system flawed in both design and implementation that has disparately impacted the ratings

of salaried African American employees below the level of Vice President, and

consequently, their promotions, compensation, and retention. Plaintiffs also claim the use

of this flawed performance appraisal system reflected a pattern or practice of employment

discrimination.

          On its face, the proposed settlement is fair, adequate, and reasonable. It was reached

after extensive bargaining in arms-length negotiations, including eleven days of in-person

mediation sessions and numerous calls with a mediator. It provides for a settlement fund

of $22.8 million for a class of 5,566 employees nationwide. It also creates programmatic

relief that will benefit African-American employees currently employed by Lockheed

Martin.
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      II.        FACTUAL AND PROCEDURAL BACKGROUND

            A.     Exhaustion of Administrative Remedies and Investigation

            Lockheed Martin Corporation is a leading aerospace, defense, and technology

company. Its principal business areas are Rotary and Missions Systems, Enterprise

Operations, Aeronautics, Missiles and Fire Control, and Space Systems. The Named

Plaintiffs are current or former employees of Lockheed Martin who claim to have

experienced race discrimination during their employment. Plaintiff Dr. Vernon Ross filed

a charge of discrimination with the Equal Employment Opportunity Commission

(“EEOC”) against Lockheed, alleging race discrimination in compensation, promotion, and

other terms and conditions of employment and has obtained his Right to Sue letter.

Declaration of Cyrus Mehri In Support of the Joint Motion for Preliminary Approval of the

Class Action Settlement (“Mehri Decl.”), ¶16. Plaintiff Debra Josey also filed a charge of

discrimination with the EEOC, and is in the process of obtaining her Right to Sue letter.

Id.

            The Plaintiffs engaged Class Counsel to investigate whether their claims could be

pursued as a class action on behalf of all similarly situated African-American salaried

employees below the level of Vice President. Class Counsel devoted significant time and

resources to investigating and pursuing the Class’s claims, including reviewing

documentation provided by clients and other individuals and conducting independent

research on Lockheed Martin. Id. ¶ 26.

            B.     Settlement Negotiations and the Informal Exchange of Information

            After the Plaintiffs filed their Class Charges of Discrimination, Lockheed Martin’s

counsel contacted Class Counsel to discuss the matter. To determine the feasibility of



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settling the dispute prior to the commencement of litigation, Class Counsel and Lockheed’s

counsel — all of whom are experienced class action attorneys — initiated formal settlement

discussions. The parties engaged in a tolling agreement covering the time period from the

inception of negotiations to the date of this Action to facilitate settlement discussions. Id.

¶ 17.

         Counsel for Defendant and Plaintiffs engaged the services of Washington, DC and

JAMS Mediator Linda Singer, Esq.. Ms. Singer a highly experienced and skilled

professional mediator of complex class actions, including employment discrimination

matters. Ms. Singer conducted eleven days of in-person and numerous telephonic

mediation sessions with the parties. During those sessions, the parties thoroughly debated

the key issues, including but not limited to statistical analyses, company policies and

practices, and anecdotal evidence in this case. At least one and generally both Plaintiffs

attended the in-person mediation sessions. Class Counsel also consulted regularly with

Plaintiffs about the telephonic mediation sessions and the Plaintiffs reviewed many of the

drafts of a settlement agreement as discussions progressed Id. ¶¶ 20-24. They made

valuable suggestions based on their experiences. Id.

         In order to evaluate the merits of the claims as to both liability and damages, Class

Counsel sought and Defendant produced electronic human resource data and other

information concerning the salaried African-American workforce below the level of Vice

President, and its practices, including information about the performance appraisal system

and ratings received by the Class during the operative time period. Class Counsel retained

a labor economics expert, Dr. Alex Vekker, PhD, to conduct statistical analyses of the

human resource data. Dr. Vekker reviewed the data, ensured it was complete, and, in close



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consultation with Class Counsel, produced multiple analyses. Dr. Vekker conducted

studies similar to those that would have been conducted in preparation for a class

certification motion and a trial on this matter. Id. ¶ 27.

        The parties devoted large portions of several days of mediation entirely to

presentation and discussion of the findings of Plaintiffs’ and Defendant’s statistical

analyses. The parties emerged from these intensive discussions well informed. Id.¶¶ 27-

28. In addition, Class Counsel reviewed copies of numerous employment personnel

policies related to the facts underlying the claims and the legal issues raised in the EEOC

Charges, and completed a survey and analysis of legal and factual litigation issues

pertaining to performance evaluations and relevant caselaw. Class Counsel discussed the

policies with the Plaintiffs, who were familiar with those policies and the weaknesses in

their formulation and application. As the negotiations and information exchange continued,

Class Counsel also met with several experts in the field of industrial psychology to discuss

current best practices regarding performance evaluation procedures. Id.¶ 26.

        C.      Resolution of Plaintiffs’ Claims

        As a result of the investigations and informal discovery, the parties are well

positioned to evaluate the merits of the claims as well as the potential costs and risks of

litigation. Counsel for both Plaintiffs and Defendant bargained vigorously on behalf of

their clients during the arms-length, good-faith negotiations.

        After lengthy negotiations, on December 8, 2016, counsel executed the Settlement

Agreement attached to the present motion as Exhibit 1. Id. ¶ 29. All parties and their

counsel recognize that, in the absence of an approved settlement, they would face a long

litigation course, including motions to dismiss, motions related to class certification, formal



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discovery, motions for summary judgment, and trial and potential appellate proceedings

that would consume time and resources and present each of them with ongoing litigation

risks and uncertainties. Plaintiffs faced a great deal of uncertainty due to the evolving

standards for class certification in equal opportunity cases. See, e.g., Wal-Mart Stores, Inc.

v. Dukes, 131 S. Ct. 2541 (2011); McReynolds v. Merrill Lynch, Pierce, Fenner & Smith,

Inc., 672 F.3d 482 (7th Cir.), cert denied, 133 S. Ct. 338 (2012); DL v. District of Columbia,

713 F.3d 120 (D.C. Cir. 2013).

       The parties desired to avoid these risks and uncertainties, as well as the

consumption of time and resources, and ultimately determined that an amicable settlement

pursuant to the terms and conditions of the attached Settlement Agreement would be more

beneficial to them than litigation. Class Counsel believes that the terms of the Settlement

Agreement are in the best interests of the class and are fair, reasonable, and adequate, and

that preliminary approval is warranted. Id.¶ 31.

II.    SUMMARY OF THE SETTLEMENT AGREEMENT PROVISIONS

       A.      Settlement Class Definition

       To effectuate their proposed Settlement, the parties seek provisional certification

of a class defined as follows:

       [A]ll African-American salaried employees below the level of Vice
       President employed by Defendant in the United States for at least one day
       between January 1, 2013 and February 29, 2016, and who received at
       least one performance evaluation during that period with an overall rating
       below “significantly exceeded commitments.”

The following employees are excluded from the Class:

        (1) employees who signed release agreements, (2) union-represented
       employees, (3) individuals who have asserted claims of race
       discrimination against Lockheed Martin, which remain pending before



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         any local, state or federal agency or in any state or federal court as of the
         date of preliminary approval, (4) individuals employed by Sandia
         Corporation, and (5) individuals who became (or become) employees of
         Lockheed Martin or one or more of its subsidiaries as a consequence of
         stock or asset acquisitions consummated on or after January 1, 2012
         including, but not limited to, the following transactions: Industrial
         Defender, Materion Assets, Deposition Sciences, Astrotech AssetsZeta
         Associates, Sun Catalytix, Systems Made Simple, and Sikorsky.

According to Lockheed’s records, 5, 566 current and former African Americans are in the

Class.

         B.      Schedule for Notice and Fairness Hearing

         Subject to the Court’s approval, the parties have agreed upon the following

schedule for the issuance of notice, the submission of opt-outs and objections, the final

fairness hearing, dismissal and the distribution of the settlement fund:

              a. After preliminary approval of the Settlement Agreement, the Claims
                 Administrator will issue the Court-approved Notice and Claim Form to
                 Class Members by first class mail. The proposed Notice and Claim Form
                 are attached to the Settlement Agreement as Exhibits 2 and 4;

              b. Class Member objections, if any, must be in writing, filed with the Court,
                 and served upon counsel for the parties within forty-five (45) calendar days
                 after the Notice is mailed to Class Members.

              c. Class Members who wish to opt-out of the settlement must submit a signed
                 statement including the Class Member’s name, address, email address and
                 telephone number to the Claims Administrator within forty-five (45) days
                 after the Notice is mailed to Class Members.

              d. At the approximate midpoint between the date of the first mailing of Notice
                 and the deadline for submitting the Claim Forms, the Claims Administrator
                 will send the Reminder Notice, a copy of which is attached as Exhibit 3, via
                 U.S. mail to Class Members who have not yet responded reminding them
                 of the Claim Form deadline.

              e. Class Members who wish to participate in the Settlement must return or
                 postmark a Claim Form within seventy five (75) days after the mailing of
                 the Notice;

              f. A briefing schedule and final approval hearing date will be set at the Court’s

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               convenience. The parties suggest that the motion for final approval and
               certification of the Settlement Class be due no earlier than thirty (30) days
               following the close of the objection and opt-out period.

The proposed schedule is set forth in further detail in Sections 4.5, 4.6, and 9.4 of the

Settlement Agreement.

       C.      Releases

       All Class Members, other than the Plaintiffs, will release the Company, and all

“Released Parties” as defined in Section 3.1(bb) of the Settlement, from the “Released

Claims” as defined in Section 3.1(aa) of the Settlement. Class Members who receive

awards will reaffirm that release through language, attached hereto as Exhibit C, to be

printed on the back of the checks.

       The Named Plaintiffs must execute a written general release of any and all claims

(not just claims in this case) that have accrued up to and through the date of execution,

within twenty one (21) calendar days after the Settlement Agreement is executed. The

form of the expansive release to be signed by the Named Plaintiffs is attached to the

Settlement Agreement as Exhibit 3.

       D.      Programmatic Relief

       The Settlement Agreement requires the Company to implement programmatic

relief, which will remain in place for at least four (4) years following the effective date of

the Settlement Agreement. Under the Agreement, the Company will, among other things,

   a. Establish a Workforce Initiatives Council (“Council”) to:

            1. Oversee implementation of the changes that Lockheed Martin has agreed to
            make as a result of the Settlement Agreement, including making
            recommendations to modify the performance appraisal process, establish an
            exit interview process, and track participation in leadership development
            programs;



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       2. Review reports that reflect Lockheed Martin’s progress in ensuring fair and
       non-discriminatory processes related to performance management, as well as
       making recommendations regarding the need for follow-up action based on the
       data in the reports;

       3. Monitor statistical analyses required under the Settlement Agreement; and

       4. Assist in reporting to and meeting with Class Counsel in Class Counsel’s
       role overseeing the Settlement Agreement’s implementation.

b. Implement changes to its performance appraisal process, including but not limited
   to:

       1. Discontinuing the use of calibration sessions and forced ranking systems;

       2. Eliminating the composite score, which represents a weighted average of an
       employee’s ratings for commitments and behaviors;

       3. Considering revisions to the performance management tool;

       4. Investigating and proposing modifications to the performance ratings
       appeal process to ensure that employees have the opportunity to obtain
       meaningful review of their performance evaluations; and

       5. Reviewing performance evaluation data to analyze the data for disparities
       in the performance ratings received by African American salaried employees;
       and, before year-end ratings are provided to employees, to take efforts to reduce
       and eliminate statistically significant disparities.

c. Undertake a salary analysis relating to the compensation paid to African American
   employees and make adjustments to compensation, as reasonable and appropriate;

d. Implement a process to ensure that a diverse slate of viable candidates is being
   considered for open salaried exempt positions at grade 7 and below prior to filling
   the positions. The Council shall receive and review data on the results of the
   selection process and suggest means for improving and enhancing the process;

e. At the request of the Council, each Business Area shall develop a growth promotion
   plan that addresses the timing of growth promotion decisions and includes a
   proposal for analyzing the distribution of growth promotions for which African
   American salaried employees are eligible;

f. The Council shall investigate options or conducting exit interviews and surveys of
   employees who voluntarily resign their employment with the Company and
   recommend a process for conducting such interviews and tracking the feedback



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      received. The Council will receive a summary of the results of exit interview data
      and any recommendations regarding the same at least once a year;

g. The Council will consider and recommend mechanisms to link performance in the
   area of diversity and inclusion to executive compensation;

h. Provide training in areas impacting the Company’s diversity and inclusion,
   including continued Effective Leadership of Inclusive Teams (ELOIT) learning
   opportunities; instruction for leaders and employees on conducting performance
   evaluations and providing performance feedback as well as the appeal process; and
   training for leaders responsible for employee evaluations and/or selections with
   curriculum focused on how to evaluate employees and make decisions regarding
   selection and compensation effectively and fairly without unlawful bias.

i.    The Council shall investigate options to monitor the demographics of those who
      participate in Leadership Development Programs and track participants’ career
      progression following participation in such programs.

j.    Develop, or continue where a system is currently in place, a system of tracking
      personnel data to ensure that information for African American salaried employees
      can be provided to the Council on a semi-annual basis. Based on the following data,
      the Council shall pay particular attention to any statistically significant disparities
      affecting salaried African American employees and shall make recommendations
      regarding any need for further investigation, follow-up action, or changes to
      existing policies and practices affecting:

         1. Performance rating distributions;

         2. Growth promotions;

         3. Participation in training programs;

         4. Attrition information.

k. Board of Directors: Twice a year, the Chair of the Council and/or the Vice
   President of Global Diversity and Inclusion shall provide a report to the Board of
   Directors and/or the appropriate Committee of the Board of Directors that addresses
   the efforts of the Council to carry out this Settlement Agreement.

l.    Class Counsel Oversight: Report to Class Counsel on Lockheed Martin’s progress
      in implementing the actions described above, as well as meet with Class Counsel
      and provide to Class Counsel data reports on performance rating distributions,
      growth promotions, attrition information, salary analyses, and participation in
      training programs of African American salaried employees in comparison to
      similarly situated white employees.



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The full terms of the programmatic relief are set forth in Section 8 of the Settlement

Agreement, and their important and groundbreaking nature is described in Section VII(C)

infra.

          E.     The Settlement Fund

          Defendant will pay $100,000 into a Settlement Fund after preliminary approval of

the Settlement Agreement, and pay the balance, $22.7 million, into the Fund after the final

approval hearing on the Settlement Agreement. The initial payment will be used to cover

notice and fund administration costs incurred before final approval. The Fund will cover:

    a. All amounts to be paid to Class Members, including Named Plaintiffs;

    b. All of Class Counsel’s fees and costs, including those in connection with securing
       court approval of the Settlement, the claims process, and the oversight of the
       Settlement Agreement;

    c. Costs in connection with the Fund including, but not limited to, those related to
       notice, claims processing, legal advice and tax reporting of awards to claimants,
       preparation of tax returns, and the Claims Administrator’s fees and expenses; and

    d. All applicable federal, state and local income taxes and the employee’s portion of
       applicable payroll taxes.

The Fund does not include Defendant’s share of taxes or contributions (i.e., FUTA, SUTA,

FICA, and Medicare), which Defendant will pay separately to the Claims Administrator.

If the number of Class Members who opt out of the Settlement equals or exceeds the

number set forth in Appendix 1 filed with the Court under seal concurrently with this

Settlement Agreement, the Defendant may withdraw from the Settlement Agreement or

take an opt out credit equal to $4,000 per Class Member who elects to opt out. Full details

of the Settlement Fund are set forth in Sections 4.6(c) and 9.2(d) of the Settlement

Agreement.




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       Garden City Group, LLC in Seattle, Washington will serve as the Claims

Administrator and the Trustee of the Settlement Fund with respect to the handling,

management, and distribution of the Fund. Loree Kovach, who is a Director of Operations

at Garden City Group, is the primary Garden City Group employee overseeing the

administration of the case. Ms. Kovach has been with GCG for two years. Prior to that, she

worked for ten years at Settlement Services, Inc. (“SSI”), a settlement administration

company which specializes in employment class action settlements. Ms. Kovach worked

at SSI when GCG acquired SSI. Courts in this District have previously found the Notice

and Claims processing methods used by Garden City Group and SSI to be adequate. See

Brown et al v. Medicis Pharmaceutical Corporation, No. 1:13-cv-1345 (ECF 52)(D.D.C.

July 11, 2016)(GCG used as Claims Administrator); In Re Fannie Mae Securities

Litigation, 4 F. Supp. 3d 94, 101 (D.D.C. Dec. 6, 2013); Carter v. Wells Fargo Advisors,

LLC, No. 1:09-CV-01752 (D.D.C. June 9, 2011) (SSI used as Claims Administrator);

Augst-Johnson v. Morgan Stanley & Co., No. 1:06-CV-01142 (D.D.C. Oct. 26,

2007)(same).

       F.      Attorneys’ Fees and Expenses

       Pursuant to the Agreement, Class Counsel may petition the Court for attorneys’

fees of up to 28% of the proposed $22.8 million monetary settlement plus reimbursement

of out of pocket expenses

       The Agreement also permits Class Counsel to receive an additional payment of

$225,000 per year for four years to reimburse them for their oversight duties after final

approval of the Settlement. Under the terms of the Settlement, Class Counsel will review

Lockheed Martin’s reporting on programmatic modifications and data and metrics; meet



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with the Chair of Lockheed Martin’s Workforce Council three times during the first year

of the Settlement Agreement and on a semi-annual basis thereafter to evaluate and review

Lockheed Martin’s progress on the objectives of the Settlement Agreement; give feedback

to the Company; and take appropriate action, beginning with discussions with the

Company, if Class Counsel identifies issues of non-compliance with the Settlement. Class

Counsel’s oversight role is detailed fully in Section 8.8 of the Settlement Agreement.

       G.      Confidentiality

       The content of the responses on the Claim Forms will be kept confidential. The

identities of the Claimants will not be disclosed to anyone other than counsel for the parties,

the Claims Administrator, and the employees of Lockheed Martin who have a strict

business need to know. They will be disclosed to the Court only if required, and in camera.

The purpose of these confidentiality provisions is to encourage Claimants to be

forthcoming on their Claim Forms.

VI.    THE COURT SHOULD CONDITIONALLY CERTIFY THE PROPOSED
       SETTLEMENT CLASS

       The Court should grant preliminary approval, and ultimately final approval, to the

proposed Settlement under the standards developed for settling a proposed class action

pursuant to Rule 23 of the Federal Rules of Civil Procedure and applicable case law. Rule

23 applies to the settlement of any case raising class allegations, even prior to class

certification. See 5-23 Moore’s Federal Practice §23.80[2-1]. Conditional settlement

approval, class certification, and appointment of class counsel have practical purposes,

including avoiding the costs of litigating class status while facilitating a global settlement,

ensuring that all class members are notified of the terms of the proposed settlement, and

setting the date and time of the final approval hearing. See Fed. R. Civ. P. 23(e).

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       In determining whether to grant a motion for preliminary approval of a proposed

settlement agreement, the Court utilizes a threshold inquiry standard intended merely to

reveal conspicuous defects. Manual for Complex Litigation (Fourth) § 21.632 (2004). The

proposed Settlement Class in this case does not suffer from any conspicuous defects. It

satisfies Rule 23(a)’s requirements of numerosity, commonality, typicality, and adequacy

of representation and at least one of the subsections of Rule 23(b) to the extent required for

purposes of certifying a settlement class.

       A.      The Proposed Settlement Class Satisfies Rule 23(a)

       Under Rule 23(a) of the Federal Rules of Civil Procedure, a class may be certified

when “(1) the class is so numerous that joinder of all members is impracticable; (2) there

are questions of law or fact common to the class; (3) the claims or defenses of the

representative parties are typical of the claims or defenses of the class; and (4) the

representative parties will fairly and adequately protect the interests of the class.” Fed. R.

Civ. P. 23(a). The Class meets each of these requirements.

               1. The Class Is So Numerous that Joinder of All Members Is
                  Impracticable

       Courts generally agree that classes with forty or more members satisfy the

numerosity requirement. See Thorpe v. D.C., 303 F.R.D. 120, 144 (D.D.C. 2014); Moore

v. Napolitano, 926 F. Supp. 2d 8, 27 (D.D.C. 2013). Based on its data, the Company has

identified 5, 566 Class Members. Therefore, the proposed number of Class members far

exceeds the minimum number to satisfy the numerosity requirement.

               2. Questions of Law and Fact Are Common to the Class

       Commonality requires that the claims in a case raise questions of law or fact

common to the class, but does not require that every issue of law or fact be identical with

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respect to each class member. Taylor v. D.C. Water & Sewer Auth., 241 F.R.D. 33, 37

(D.D.C. 2007). Not all questions need to be common to the class — “even a single common

question will do.” Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2556 (2011). In general,

the commonality requirement is satisfied where there is at least one issue which, if

resolved, affects all or a significant number of class members. DL v. District of Columbia,

713 F.3d 120, 128 (D.C. Cir. 2013).

       The Class satisfies the commonality requirement here because Plaintiffs allege that

each member of the Class was subject to the same performance evaluation system at

Lockheed Martin. Plaintiffs allege that, during the relevant years, Lockheed Martin has

evaluated all non-represented, salaried employees under essentially the same performance

appraisal system, and has used this system to select employees for annual pay increases, as

well as certain bonuses and incentive awards. It is alleged that the system has also affected

promotion and retention of employees. The discrimination in pay, promotions, and

retention experienced by each member of the proposed Class is bound together by the

common, unifying system that produced the unlawful disparities complained of. See, e.g.,

In re District of Columbia, 792 F.3d 96, 100 (D.C. Cir. 2015) (commonality requirement

was satisfied when “plaintiffs will have to prove concrete systemic deficiencies”); In re

Johnson, 760 F.3d 66, 72-73 (D.C. Cir. 2014) (class of African American employees

achieved class certification in part because “every class member was evaluated upon the

same criteria and scored using the same numerical system”).

       Questions that are common across the Class allegations include, but are not limited

to: (1) Has the performance evaluation system been properly validated as required by law?

(2) Did African-American salaried employees systematically receive lower ratings than



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their white peers under Lockheed Martin’s performance appraisal system? (3) Has the

performance appraisal system been flawed in manners that have resulted in the lower

ratings for Class members? (4) Have there been systemic disparities in the merit

compensation of African American employees resulting from disparities in performance

appraisal ratings? (5) Have Class members received fewer and/or lower bonuses as a result

of lower ratings? (6) Have there been statistically significant disparities in promotion rates

of African American employees resulting from disparities in performance appraisal

ratings? (7) Have there been statistically significant systemic disparities in retention rates

of African American employees resulting from disparities in performance appraisal

ratings? The resolution of these common issues would impact the class of African

American salaried employees as a whole.

               3. The Named Plaintiffs’ Claims Are Typical of the Class Claims

       Named Plaintiffs’ claims “are typical of those of the class if the named plaintiffs’

injuries arise from the same course of conduct that gives rise to the other class members’

claims.” Moore, 926 F. Supp. 2d at 30. “Typical does not mean identical,” id., and thus

“[a] plaintiff’s claims can be typical of those of the class even if there is some factual

variation between them.” Encinas v. J.J. Drywall Corp., 265 F.R.D. 3, 9 (D.D.C. 2010).

“Typicality refers to the nature of the claims of the representative, not the individual

characteristics of the plaintiff.” Cohen v. Warner Chilcott Pub. Co., 522 F. Supp. 2d 105,

115 (D.D.C. 2007) (internal citations omitted). Courts have liberally construed the

typicality requirement. See, e.g., In re Vitamins Antitrust Litig., 209 F.R.D. 251, 259

(D.D.C. 2002).




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       The Named Plaintiffs’ claims are typical of the claims of the Class because all the

claims in this suit arise from Lockheed Martin’s allegedly discriminatory performance

appraisal system. The Named Plaintiffs and the Class allege that the performance appraisal

system in use at Lockheed Martin contained flaws that resulted in lower ratings for African

American employees and, consequently, lower compensation, fewer promotions, and

lower retention rates of African Americans. Finally, Named Plaintiffs and the Class’s

claims all rest on common evidence and are all based on common legal theories of liability

and recovery. The Named Plaintiffs satisfy the typicality requirement.

               4. The Named Plaintiffs             and   Class    Counsel    are    Adequate
                  Representatives

        “Two criteria for determining the adequacy of representation are generally

recognized: 1) the named representative must not have antagonistic or conflicting interests

with the unnamed members of the class, and 2) the representative must appear able to

vigorously prosecute the interests of the class through qualified counsel.” Moore, 926 F.

Supp. 2d at 31 (quoting Twelve John Does v. District of Columbia, 117 F.3d 571, 575-6

(D.C. Cir. 1997)); see also Anchem Prods. v. Windsor, 521 U.S. 591, 625-27 (1997).

       Class Counsel have vigorously represented the interests of the Class during

negotiations. Throughout these negotiations, Class Counsel have relied on their expertise

in litigating major class actions in the field of employment discrimination. Lawyers at

Mehri & Skalet have served as lead or co-lead class counsel for plaintiff classes in litigating

employment discrimination class cases and achieving settlements affording significant

monetary and programmatic relief on behalf of class members. See Brown v. Medicis

Pharmaceutical Corp., No. 1:13-cv-01345 (D.D.C. July 11, 2016) (Leon, J.)($7.15 million

settlement and similar injunctive relief and certifying Mehri & Skalet as Class Counsel);

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Carter v. Wells Fargo Advisors, LLC, No. 1:09-CV-01752-CKK (D.D.C. 2011) (Kollar-

Kotelly, J.) ($32 million settlement and similar injunctive relief and certifying Mehri &

Skalet as class counsel); Amochaev v. Citigroup Global Markets d/b/a Smith Barney, No.

3:05-cv-01298-PJH (N.D. Cal. 2008) ($33 million settlement and similar injunctive relief

and certifying Mehri & Skalet as Class Counsel)(recently referred to Kollar-Kotelly, J.);

Augst-Johnson v. Morgan Stanley & Co., No. 1:06-CV-01142 (D.D.C. 2007) (recently

referred to Kollar-Kotelly, J.) ($46 million settlement and programmatic relief on behalf of

female financial advisors and certifying Mehri & Skalet as Class Counsel); Robinson v.

Ford Motor Co., No. 1:04-CV-00844, 2005 U.S. Dist. LEXIS 11673 (S.D. Ohio 2005)

(settled for $10 million and creation of over 270 apprenticeship positions for African

Americans and certified Mehri & Skalet as Class Counsel); Ingram v. Coca-Cola

Company, No. 1:98-CV-3679, 200 F.R.D. 685 (N.D. Ga. 2000) (settled for $192 million

and broad programmatic relief on behalf of salaried African-American employees);

Thornton v. Nat’l R.R. Passenger Corp., No. 1:98-cv-890 (D.D.C. 2000) (Sullivan, J.)

($16 million plus broad injunctive relief in race discrimination class action); McLaurin v.

Nat’l R.R. Passenger Corp,1:98-cv-2019 (D.D.C. 2000) (Sullivan, J.) ($8 million plus

broad injunctive relief in race discrimination class action); Hyman v. First Union Corp.,

No. 94-1043 (D.D.C. 1997) (Lamberth, J.) ($58.5 million in age discrimination collective

action); In re PEPCO Employment Litig., No. 86-0603, 1993 U.S. Dist. LEXIS 7905

(D.D.C. 1993) (Lamberth, J.) ($38.4 million and broad injunctive relief). Roberts v. Texaco

Inc., 94 Civ. 2015 (CLB) (S.D.N.Y. 1997) (settled for $176 million and broad

programmatic relief on behalf of African-American employees). Mehri Decl. ¶¶ 5-9.




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        Proposed co-lead Class Counsel Charlie Firth has primarily devoted his practice to

employment litigation on behalf of plaintiffs. He has been involved in representing

employees in a number of race and gender discrimination cases including Dukes v. Wal-

Mart prior to its appeal to the Supreme Court, as well as wage and hour class and collective

actions. Mr. Firth has experience in litigating, mediating, and settling employment class

actions. Id.¶ 10.

        Named Plaintiffs will also fairly and adequately represent and protect the interests

of the Class. Named Plaintiffs’ allegations are the same as those of the Class with respect

to race discrimination in employment, including the performance appraisal system leading

to lesser compensation, fewer promotions, and less retention of African American

employees. There is little potential for conflicting interests. Further, both the Named

Plaintiffs, especially Debra Josey who remains an employee of Lockheed Martin, have

great interest in ensuring that the Programmatic Relief provisions of the Settlement

Agreement are effective. Id.¶ 23. The Named Plaintiffs have devoted significant time and

energy to pursuing the Class claims, including traveling to attend mediation sessions,

providing information to Class Counsel, and reviewing multiple versions of Settlement

documents, and will continue to represent the Settlement Class with distinction. Id.¶¶ 23-

24. As such, Named Plaintiffs are adequate representatives for the Class.

        B.      The Proposed Settlement Class Satisfies Rule 23(b)

        The Class satisfies the provisions of Rule 23(b) to the extent required for a

settlement class and can be certified as a “hybrid” class under Rule 23(b)(2) and (b)(3). See

Eubanks v. Billington, 110 F.3d 87, 96 (D.C. Cir. 1997) (permitting district court to adopt

a “hybrid” approach, certifying a (b)(2) class as to the claims for declaratory or injunctive



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relief, and a (b)(3) class as to the claims for monetary relief, effectively granting (b)(3)

protections including the right to opt out to class members at the monetary relief stage);

see also DL v. District of Columbia, 302 F.R.D. 1, 10 n. 2 (D. D. C. 2013), petition to

appeal denied by DL v. District of Columbia, No. 13-cv-8009, 2014 U.S. App. LEXIS 1919

(D.C. Cir. 2013) (“[t]here is no question that certification of hybrid classes is permitted

under Rule 23”).

               1. Certification Is Appropriate Under Rule 23(b)(2) as to Injunctive
                  Relief

       Rule 23(b)(2) requires that a defendant “has acted or refused to act on grounds that

apply generally to the class, so that final injunctive relief or corresponding declaratory

relief is appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2). “Civil rights

cases against parties charged with unlawful, class-based discrimination are prime

examples” of Rule 23(b)(2) classes. Anchem, 521 U.S. at 614 (1997).

       The Class members here have been subjected to the same allegedly discriminatory

policies and practices centered on Lockheed Martin’s flawed performance appraisal

system. All members of the proposed Settlement Class have been subjected to the

performance appraisal system at least once during the relevant period. This performance

appraisal system affected the compensation, promotion, and retention of the entire Class.

Thus, injunctive relief is appropriate with respect to the Class as a whole to secure changes

in Lockheed Martin’s personnel policies, including but not limited to its performance

appraisal system. The Class should be approved under Rule 23(b)(2) as to injunctive relief.

               2. Certification Is Appropriate Under Rule 23(b)(3) as to Monetary
                  Relief

       A class action is properly maintained pursuant to Rule 23(b)(3) if “the court finds

that questions of law or fact common to class members predominate over any questions

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affecting only individual members,” Fed. R. Civ. P. 23(b)(3), and that the class action is

the superior method of adjudicating the controversy. See Moore, 926 F. Supp. 2d at 33

(certifying a class of African American employees and holding that common issues

predominated where the class alleged that a promotion process discriminated against

African Americans, which would be established by common statistical proof among other

methods). The predominance requirement

       does not simply require a mathematical accounting of whether common or
       individualized questions are more numerous. Instead, it requires a
       qualitative assessment . . . it is not bean counting . . . If the most substantial
       issues in controversy will be resolved by reliance primarily upon common
       proof, class certification will generally achieve the economies of litigation
       that Rule 23(b)(3) envisions.

In re Air Cargo Shipping Servs. Antitrust Litig., Master File No. 06-MD-1175 (JG)(VVP),

2014 U.S. Dist. LEXIS 180914, at *193-194 (E.D.N.Y. Oct. 15, 2014) (quotation deleted).

       The common questions of law and fact affecting the Settlement Class itemized

above — Has Lockheed Martin’s performance appraisal system been validated as required

by law? Has the performance appraisal system had an adverse impact on performance

ratings of African American salaried employees? Has the performance appraisal system

been flawed in a way that resulted in discrimination against Class members? Have there

been disparities in the merit compensation, promotion and retention rates of African

American employees resulting from disparities in performance appraisal ratings? — are

the most substantial questions in controversy as to Class members’ race discrimination

claims. The Class members are united by common factual allegations — that Class

members were subjected to discriminatory compensation and promotion decisions as well

as lower retention rates resulting from the same performance appraisal system — as well




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as a common legal theory — that these policies violated Title VII and Section 1981. The

common issues predominate over any issues affecting only individual Class members.

        Because the parties have proposed a settlement of the class issues, this is a fair and

efficient way of proceeding to resolve this dispute, and the Court does not need to address

the manageability of the proposed class claims. See Anchem, 521 U.S. at 620 (any possible

difficulties in managing a class action are not an issue given that the parties have agreed to

a settlement).

VII.    THE COURT SHOULD PRELIMINARILY APPROVE THE PROPOSED
        SETTLEMENT

            A. Standard for Approval of a Class Settlement

        Fed. R. Civ. P. 23(e) governs approval of a class action settlement. Rule 23(e)

provides, in relevant part, that:

                 The claims, issues, or defenses of a certified class may be
                 settled, voluntarily dismissed, or compromised only with the
                 court’s approval. The following procedures apply to a
                 proposed settlement, voluntary dismissal, or compromise:

                        (1) The court must direct notice in a reasonable
                 manner to all class members who would be bound by the
                 proposal.

                           (2) If the proposal would bind class members, the
                 court may approve it only after a hearing and on finding that
                 it is fair, reasonable, and adequate.

Fed. R. Civ. P. 23(e). Preliminary approval of a proposed class action settlement “lies

within the sound discretion of the court.” Richardson v. L’Oreal USA, Inc., No. 13-508

(JDB), 2013 U.S. Dist. LEXIS 90378, at *5 (D.D.C. June 27, 2013). Courts should be

guided by two principles when examining a proposed settlement at the preliminary

approval stage. First, courts favor compromise of complex litigation to obviate the



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uncertainties of the outcome and to avoid wasteful litigation and expense. See, e.g., United

States v. MTU Am. Inc., 105 F. Supp. 3d 60, 62-63 (D.D.C. 2015) (“[s]ettlement is highly

favored, as not only the parties, but the general public as well, benefit from the saving of

time and money that results . . .”) (internal quotation omitted). Second, a court should leave

considerable discretion to the litigants and their counsel. Alvarez v. Keystone Plus Constr.

Corp., 303 F.R.D. 152, 160 (D.D.C. 2014); United States v. District of Columbia, 933 F.

Supp. 42, 46-47 (D.D.C. 1996) (“[T]he function of the reviewing court is not to substitute

its judgment for that of the parties to the decree, but to assure itself that the terms of the

decree are fair and adequate and are not unlawful, unreasonable, or against public policy.”)

       Courts typically take two steps in approving a settlement. First, at a preliminary

hearing, the Court determines whether the proposed settlement is “within the range of

possible approval.” Armstrong v. Bd. Of Sch. Dirs., 616 F.2d 305, 314 (7th Cir. 1980)

(internal citations omitted), overruled on other grounds by Felzen v. Andreas, 134 F.3d

873 (7th Cir. 1988); see also Winingear v. City of Norfolk, No. 2:12-cv-560, 2014 U.S.

Dist. LEXIS 97392 at *10 (E.D. Va. 2014). In that preliminary hearing, the Court ascertains

whether to notify the class of the proposed settlement and to proceed with a fairness

hearing. Armstrong, 616 F.2d at 314. (citing Manual for Complex Litigation (First), § 1.46,

at 53-55)).

       After the preliminary approval hearing, the Court directs counsel to issue notice to

all class members and schedules a fairness hearing where all interested parties, including

all class members, are afforded the opportunity to comment in writing or orally on the

proposed settlement. In Re Fannie Mae Securities Litigation, 4 F. Supp. 3d 94, 101 (D.D.C.

2013). During the final fairness hearing, the Court determines whether the proposed



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settlement is “fair, reasonable, and adequate and is not a product of collusion between the

parties” as required by Fed. R. Civ. P. 23(e). Id. at 100 (D.D.C. 2013) (internal quotation

omitted).

       Three primary questions are to be examined when considering whether to grant

preliminary approval of a settlement: (1) whether the proposed settlement appears to be

“the product of serious, informed, non-collusive negotiations;” (2) whether it falls within

the range of possible judicial approval; and (3) whether it has any obvious deficiencies,

such as granting unduly preferential treatment. Richardson, 2013 U.S. Dist. LEXIS 90378

at *5 (internal citations omitted).

       Unless the Court’s initial examination “disclose[s] grounds to doubt its fairness or

other obvious deficiencies,” the Court should order that notice of a formal fairness hearing

be given to class members under Rule 23(e). Manual for Complex Litigation (Third) §

30.41 (1995). At the preliminary approval stage, the Court should determine whether it is

reasonable to believe that the agreement may be fair, reasonable and adequate, while

deferring a final determination until notice is effected and comments and objections may

be considered. Manual Fourth § 21.632.

            B. The Settlement is the Product of Serious, Informed, Non-Collusive
               Negotiations


       Settlements reached as a result of arm’s length negotiations are presumed to be fair

and reasonable. In Re Fannie Mae Securities Litigation, 4 F.Supp.3d at 102 (finally

approving class action settlement that was “the product of extensive and vigorous arm’s-

length bargaining”); Carter v. Wells Fargo Advisors, LLC, No. 09-1752 (CKK) at 4-5

(D.D.C. June 9, 2011) (finally approving class action settlement that was “negotiated at



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arm’s length with the assistance of an experienced, professional mediator”); Augst-

Johnson v. Morgan Stanley & Co., No. 06-1142, (D.D.C. Oct. 26, 2007) (certifying

class and finally approving class action settlement on behalf of female financial

advisors); see also Newberg on Class Actions § 11.41 at 11-88 (3d ed. 1992).

       In this case, the Settlement Agreement is the result of arm’s length negotiations,

including vigorously contested discussions regarding statistical analysis, policy, and

legal issues that were overseen by an experienced and respected JAMS mediator, Linda

Singer. Mehri Decl. ¶¶18, 20-22. Counsel for the parties initiated negotiations with a

two-day mediation and, over the following eight months, convened an additional nine

in-person mediation sessions in Washington, D.C. Throughout the negotiations, Class

Counsel worked with Named Plaintiffs to identify the claims in the case and further

refine the issues to be settled on behalf of a nationwide class. Id.¶¶ 21. The Named

Plaintiffs participated in the mediation sessions in person or via teleconference, and

provided valuable input into the substantive terms of the Settlement, including the

Programmatic Relief ultimately agreed upon by the parties. In addition to the eleven

days of formal in-person mediation sessions, the parties’ counsel and Ms. Singer

engaged in numerous telephone and email communications. The parties called upon

Ms. Singer frequently to assist in resolving highly contested points, and the Settlement

Agreement was executed only after protracted arms-length bargaining. Id.¶¶ 21-29.

           C. The Settlement Falls Within the Range of Possible Judicial Approval

       In evaluating whether a settlement falls within the range of possible judicial

approval (the second factor to consider at the preliminary approval stage), “by far the most

important factor is a comparison of the terms of the . . . settlement with the likely recovery



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that the Plaintiffs would realize if the case went to trial.” Blackman v. District of Columbia,

454 F. Supp. 2d 1, 13 (D.D.C. 2006); see Greenberg v. Colvin, No. 13-cv-1837, 2015 U.S.

Dist. LEXIS 85478 at *11 (D. D. C. July 1, 2015).

       This Settlement is likely more favorable than the relief the Class would have

achieved through trial. As set forth above in detail, this Settlement implements

comprehensive, valuable programmatic relief to the entire Class.

       The changes required by the Settlement address a critical problem — alleged flaws

in the performance appraisal system. Performance evaluation systems have been

scrutinized due to the negative impact that they can have on minority and other employees

when they do not contain safeguards insulating them from bias. For example, the forced

ranking aspect of some performance evaluation systems — an aspect employed by

Lockheed Martin prior to the Settlement — have spurred discrimination lawsuits. See, e.g.,

Moussouris, et al., v. Microsoft Corp., C15-1483JLR, (W. D. Wa. Oct. 14, 2016); Tom

Osborne and Laurie A. McCann, Forced Ranking and Age-Related Employment

Discrimination,    ABA      Human      Rights        Magazine   Vol.   31   No.   2    (2004),

http://www.americanbar.org/publications/human_rights_magazine_home/human_rights_

vol31_2004/spring2004/hr_spring04_forced.html; Malos, The Importance of Valid

Selection and Performance Appraisal: Do Management Practices Figure in Case Law?,

Employment Discrimination Litigation 383 (2004); Meredith L. Myers, Grades Are No

Longer Just For Students: Forced Ranking, Discrimination, and the Quest to Attain a More

Competent Workforce, 33 Seton Hall L. Rev. 681, 691 n. 82 (2003). The effects of the

changes to Lockheed’s performance appraisal system are especially significant because

their implementation will touch tens of thousands of Lockheed Martin employees



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nationwide Lockheed Martin uses the same performance evaluation system to evaluate all

salaried employees; thus, the changes to this system will benefit all current employees, not

just Settlement Class Members.

       Many other aspects of this Settlement, aside from just the changes to the

performance appraisal system, are groundbreaking. Mehri Decl. ¶ 42. For example, the

Board of Directors’ receipt of information regarding implementation of the Settlement, and

by extension its evaluation of equal employment opportunity issues writ large, is

particularly noteworthy. Id. Under the Settlement Agreement, the Board of Directors will

receive a twice-yearly report including trends on African-American salaried employees

regarding performance rating distributions, compensation and salary information, growth

promotions, attrition information, and any other information the Workforce Council

created by the Settlement deems to be useful. While other race discrimination settlements,

see, e.g., Abdallah, et. al. v. Coca-Cola Company, No. 1:98-CV-3679 (N.D. Ga. 2000),

provided for the Board’s oversight of the company’s overall equal employment opportunity

performance, the specific and targeted reporting to Lockheed Martin’s Board of Directors

will keep equal employment opportunity issues as one of the Board’s many priorities. Id.

       Other changes set forth in the Settlement, such as the requirement that a diverse set

of candidates be considered for salaried positions at grade 7 and below, will benefit African

American employees as well as African American candidates for employment. While Class

Counsel will oversee the implementation of these changes for the negotiated term of four

years, Class Counsel expects the positive effects of these changes to stretch well beyond

that time frame. Mehri Decl. ¶ 44.

       The Settlement also allows Class Members who have been injured by the flaws in



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the performance appraisal system to confidentially receive monetary relief. The common

fund created by the settlement is $22.8 million for a class of 5,566 individuals, but the total

value of the settlement is significantly more. First, Lockheed must pay its share of the

payroll taxes on the awards to Claimants from the fund. Second, Lockheed agreed to

perform a salary analysis relating to Class members’ compensation and make appropriate

adjustments to compensation within one year of the Court’s final settlement approval, and

thereafter every other year. Based on Class Counsel’s experience, Class Counsel believes

this could result in substantial additional compensation to Class Members over the years,

and is a valuable and unique feature of this Settlement. Mehri Decl. ¶ 45.

       The portion of the settlement fund covering economic damages and loss will be

distributed pursuant to criteria enumerated in the Notice and Claim Forms. The criteria

will include the number of weeks worked for Lockheed Martin during the class period;

information regarding claimants’ performance ratings; the extent to which claimants

received salary bonuses, awards, and promotions during the class period; whether

claimants’ employment was involuntarily terminated under circumstances in which

performance evaluations may have contributed; the extent of the claims the employees are

releasing; and the employees’ contributions to the prosecution of the action, if any. S.A. §

9.5(b). If this case went to trial and judgment, the relative amounts received by Class

members would likely roughly approximate the allocations to individual Class Members

under this type of formula.

           D. The Settlement Is Fair in its Provisions Concerning Notice to Class
              Members and Allocation of Benefits Among Plaintiffs and Class
              Members and Does Not Have Any Glaring Deficiencies

       The final factor to consider at the preliminary approval stage is whether the



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Settlement has any obvious deficiencies, such as granting unfairly preferential treatment.

A settlement agreement is fair when it provides adequate notice to class members so that

each class member can make an informed choice about whether to opt out, object, and/or

file a timely claim form and have an opportunity to receive a monetary award. A fair

settlement also should allocate the benefits of the settlement fairly among all class

members, including named plaintiffs. See, e.g., In re Fannie Mae Sec., Derivative, and

ERISA Litig., 4 F. Supp. 3d at 107. The Settlement Agreement here meets these criteria.

               1. The Proposed Form and Method of Notice is Adequate

       The parties’ proposed form of notice satisfies Rule 23(e)’s requirements that class

members are adequately informed about the terms of the settlement and given an

opportunity to comment on or object to a proposed settlement of a class action.

       The Notice, attached to the Settlement Agreement as Exhibit 4, which will be sent

by first class mail to each Class member, provides a detailed summary of the terms of the

Settlement Agreement, including the proposed procedures for distribution of awards. It

also provides clear guidance to Class members on the procedure and deadline for filing

objections, the procedures for opting out, and the manner of submitting claim forms.

       The Claim Form, which will be sent with the Notice and is attached to the

Settlement Agreement as Exhibit 2, contains specific instructions for its timely completion

and submission. The Claims Administrator will print a Data Report accompanying the

Claim Form that is pre-populated with each Class Member’s identifying information, the

dates that he or she was employed with Lockheed Martin, the Class Member’s job titles

and levels during that time period, the promotions he or she received, the compensation,

including salary, bonuses, and incentive awards for each year during the class period, and



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the reason code for any termination of employment with the Company. The Claim Form

and the Notice alert Class members that they may challenge any pre-printed data they

believe to be incorrect when they submit their forms. In addition, the Claim Form and

Notice provide the contact information of Class Counsel and the Claims Administrator,

both of whom will be available to answer questions about the Claim Form process.

       The proposed plan for delivery of the Notice and Claim Form satisfies the

requirements of Rule 23. The Notice will be mailed by first class mail to each Class

Member after the Court grants preliminary approval to the Settlement. If any envelopes are

returned with forwarding addresses, the Claims Administrator will re-mail the Notice and

Claim Form to the new addresses. In the event that any envelopes are marked as “Return

to Sender,” the Claims Administrator will perform a standard skip trace to ascertain the

current address of the particular Class Member in question. If no updated address is

obtained, the Claims Administrator will request additional information in writing from

Lockheed Martin, which shall provide that information in an encrypted file, and separately

provide the password to the file. The Claims Administrator will use this information to

search for a current address for the Class Member, and re-send the Notice and Claim Form

to the Class Member.

       The Claims Administrator will send the Reminder Notice, attached to the

Settlement Agreement as Exhibit 5, as a postcard to each Class Member who has not

submitted a Claim Form at the approximate midpoint between the date of the first mailing

of Notice and the deadline for submitting Claim Forms. The Reminder Notice will remind

Class Members of the deadline for submitting the Forms. The full details of the notice

process are provided in Sections 4.5 and 9.4 of the Settlement Agreement.



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               2. Monetary Benefits of the Settlement Will be Fairly Distributed
                  Among Named Plaintiffs and Class Members

       The Settlement Agreement provides each of the 5,566 Class Members with an

opportunity to receive monetary relief. Each individual, including Named Plaintiffs, will

go through the same claims process and receive the amount of money determined by a

neutral third party — the Claims Administrator — using predetermined, uniformly-applied

criteria. The Claims Administrator will devise for this lawsuit a point system for allocating

the Settlement Fund based on the Data Report and information Claimants provide on Claim

Forms. The Settlement Agreement also calls for the Claims Administrator to consider that

Named Plaintiffs devoted significant time and energy into initiating and negotiating the

Settlement, the risk they took in pursing claims and will execute a general release of claims.

The Claims Administrator’s point system will be submitted for the Court’s approval at the

final approval stage. To ensure transparency, Class Members are apprised in the Notice

that Named Plaintiffs will be allocated additional points for their efforts and the risk they

took in pursuing a claim, and general releases. The criteria and process for distribution of

the Settlement Fund is fair, transparent, will be approved by the Court, and accounts for

the unique circumstances and efforts of the Named Plaintiffs.

               3. The Fees and Expenses That Will Be Requested are Within the
                  Range of Possible Judicial Approval

       The fee award that Class Counsel will request at Final Approval is fair, adequate,

and reasonable. The Settlement Agreement provides that Class Counsel may petition the

Court for reimbursement of out of pocket expenses, which are expected to be

approximately $125,000, plus attorneys’ fees in the amount of 28% of the proposed $22.8

million settlement.



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       In a common fund case such as this one, “a party who creates, preserves, or

increases the value of a fund in which others have an ownership interest [is] reimbursed

from that fund for litigation expenses incurred, including counsel fees.” Swedish Hosp.

Corp. v. Shalala, 1 F.3d 1261, 1265 (D.C. Cir. 1993). D.C. federal courts have

“conclud[ed] that a percentage-of-the-fund method is the appropriate mechanism for

determining the attorney fee award.” In Re Fannie Mae Securities Litigation, 4. F. Supp.

3d 94, 110 (D.D.C. 2013). “In the common fund context, the percentage of recovery

method does a better job of guarding against potential abuses than the lodestar method.”

Hubbard v. Donahoe, 958 F. Supp. 2d 116, 124 (D.D.C. 2013). Using the percentage of

the fund method, the Court considers the appropriate percentage to be awarded under the

case law of this jurisdiction and under the facts and circumstances of this case.

       Class Counsel’s requested fee of 28% of the common fund (not including a fee and

expense award to cover future work in the case) is at the low end of the typical 30-37.5%

range for employment discrimination class actions in this district. See, e.g., Brown v.

Medicis Pharmaceutical Corp., No. 1:13-cv-01345 (D.D.C. July 11, 2016)(35% for fees

and expenses); McReynolds v. Sodexho Marriott Servs., Inc., No. 1:01-CV-00510 (ESH)

(D.D.C. July 26, 2006) (30.1% for fees and expenses); Bynum v. District of Columbia, 412

F.Supp.2d 73, 81 (D.D.C. 2006) (33.3% of Class Fund plus costs), Kosen v. American

Express Financial Advisers, Inc., No. 1:02CV00082 (HHK) at 12 (D.D.C. June 16, 2002)

(35% for fees and expenses); Thornton v. National Railroad Passenger Corp., No. 1-98-cv-

890 (EGS)(D.D.C. 1998) (ECF 62) (37.5% for past and future fees and expenses);

McLaurin v. National Railroad Passenger Corp, 1:98-cv-2019 (EGS)(D.D.C. 2004)(ECF

30) (37.5% for past and future fees and expenses). This 30-37.5% range of fees set by



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jurists in this District recognizes the difficulty and importance of equal employment

opportunity class actions.

       The fee request does not include any compensation to Class Counsel for the likely

substantial economic benefit from Section 8.5(b) of the Settlement agreement calling for a

salary analysis and adjustment, as appropriate, every other year. Mehri Decl. ¶ 54. The fee

request of 28% also rewards Class Counsel for their efficient work, which included lean

staffing of the case and well-managed teams of attorneys and support staff, while

representing their clients zealously at each stage of the negotiations. See Mehri Decl. ¶ 53.

       In addition to the 28% of the Settlement Fund to compensate Class Counsel for

work completed prior to final approval of the Settlement, Class Counsel will also request

that the Court award payments for their duties after the Settlement Agreement is finally

approved. The Settlement Agreement provides for an active and effective role for Mehri &

Skalet in overseeing the Settlement for four years after its execution. Mehri Decl. ¶ 43.

Under the Settlement Agreement, Mehri & Skalet has the obligation to review Lockheed

Martin’s reporting on programmatic modifications and data and metrics; meet with the

Chair of Lockheed Martin’s Workforce Council three times during the first year of the

Settlement Agreement and on a semi-annual basis thereafter to evaluate and review

Lockheed Martin’s progress on the objectives of the Settlement Agreement; and give

feedback to Lockheed Martin on the information provided to it. The Settlement also gives

Mehri & Skalet the ability to discuss with Lockheed Martin and otherwise take appropriate

action if Mehri & Skalet identifies issues of non-compliance with the Settlement

Agreement. In order to cover the fees and expenses associated with Mehri & Skalet’s

oversight work, Class Counsel will also request the Court to award from the settlement



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fund additional payments of $225,000 plus interest, if any, during each of the four years of

the term of the Settlement.

VI.    CONCLUSION

       Because the Settlement Agreement is the product of arm’s-length negotiations,

within the range of possible judicial approval, and has no obvious deficiencies, the Court

should grant preliminary approval and order that notice of a final fairness hearing be given

pursuant to Federal Rule of Civil Procedure 23(e).

       Plaintiffs respectfully request that the Court enter the accompanying Order:

(1) provisionally certifying the Class for purposes of settlement; (2) appointing the Named

Plaintiffs as the class representatives; (3) appointing Class Counsel; (4) preliminarily

approving the Settlement Agreement; (5) approving the provision of notice of the

settlement to the Class; and (6) setting a date for a fairness hearing.



DATED: December 23, 2016                                       Attorneys for Plaintiffs & the
                                                               Settlement Class
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*Pro Hac Vice Motion Pending




                            CERTIFICATE OF SERVICE

       I certify that on December 23, 2016, a true and correct copy of Plaintiffs’

Memorandum In Support of Final Approval of Class Action Settlement was served via

electronic mail on counsel and/or hand delivery for Defendant listed below:

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                                                            /s/ Cyrus Mehri
                                                            Cyrus Mehri
                                                            Counsel for the Plaintiffs




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